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Wu Yan

Xiaosi fu
YanFen Weng
Yang Haiqi
Yang Rong'e
Yanqing Zhu
Yuan Xiaoyan
Zelda Spingarn

zhang guofu
Zhang Shan
Zhao Zeying
Zheng Limei
Zheng Yuefen
Zhong Zhenning
Zhou Dadi

Ed

Chen Jun Xian
RAR

Wu Jiu Mei
RAM

Wu Song Ye
Et

Li Yu Mei

if

Gao Hai Zhu

eR
Gao Mei Ying
46
Gao Hua Ying

 

onlinestoresunglasses@gmail.co
m
williamkinnaman@yahoo.com

butshopping@hotmail.com
ChrisGagne42(@yahoo.com
robertdostt@yahoo.com
linneahedgecock@yahoo.com
rebeccasansberry@yahoo.com

wholesalejerseyscenter@gmail.c
om
ericaceballose@yahoo.com

nancy20easy@yahoo.com
daviddunn8 13@yahoo.com
zhenglimeipp@gmail.com
PatriciaPlatt707@yahoo.com
hattiknoppot@yahoo.com

wholesalejerseyscenter@gmail.c
om
cheap6688@hotmail.com

jiumeiwu53@gmail.com
sobypal@gmail.com
yumeilili62@hotmail.com

2010gaohaizhu@gmail.com

2010gaomeiying@gmail.com

greenville29649@gmail.com

DOMAIN NAME
Group S

nfljerseyswebsite.com Group S
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www.cheapnikejerseysdeal.us Group S
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supplyjerseys.us Group S

www.nfl-cheap-jerseys.com
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supplyjerseys.us Group S

nflreebokjerseys.com

www.ahdhf.com(shell)

supplyjerseys.us Group S

gieyel.com(offline) Group S

www.ahdhf.com(offline)

www.supplyjerseys.us(BC,need

PW)

TOTAL AWARD (Group S) $12.2 million

 

 

 

| Meion Online Store

Diante Johnson

findnewfacelook@hotmail.com
FashionJordanSky@gmail.com
leisurejordankicks@gmail.com

DOMAIN NAME
www.buyrealcheapjordans.com Group T
www fashionpay.com

airjordan6ssale.com Group T

airjordans 1 Issale.com
authenticjordan2013sale.com
authenticjordan2014.com
authenticjordansonsales.com
authenticsjordans2013.com
buyjordan2013o0nlines.com

 

Page 25 of 33
 

CaGade1B-F3-08082-OVERS F DDaouerens’ 2-B1- Fle dF 06d297122/ Page ageo? B14 97

DOMAIN NAME

 

Imogen Lockhart

Latin Malin

Malik Davis
Rene Paley

Smith Chen
Tracy Driver

doradvca@hotmail.com

findnewfacelook@hotmail.com
leisurejordankicks@gmail.com

malikwwf@hotmail.com

meyerjpat@hotmail.com
findnewfacelook@hotmail.com
paley444666@yahoo.com

findnewfacelook@hotmail.com
gilmercbqwwf@hotmail.com

buyjordanonlinesales.com
customizedjerseysforsale.com
fear4ds2013.com
fireredS5ssale.com
firstlevelsportshop.com
gammablue1 |ssale2013.com
gammabluel Issales.com
jordan2013sonsale.com
jordansforreal.com
realjordan2013ssales.com
realjordanssales.com
salejordansonline.com
socceronline2014.com
airjordan2014sales.com
airjordan3infrared23.com
airjordan6s.com
authenticjordan2014sale.com
authenticjordankicks2014.com
authenticjordansale.com
buyauthenticjordanstore2014.co
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buyjordansforsale2014.com
buyjordansonlinesale2014.com
cheapjordan2014sale.com
gammabluel |store.com
jordan6sale.com
jordansale2014.com
allnewjordans.com Group T
cheapjordansbuynow.com
cheapnewjordans.com
cheapzjordan.com
new-jordans.com
newjordanstore.com
nikeairmaxs.co.uk
authenticjordan2013ssale.com Group T
buyjordans2013sonline.com
buyjordansonlinesales.com
www .thejordan4s.com Group T

airjordanretroiv.com Group T
buyjordans2013forsales.com
buyjordanscheaponline.com
buyjordansforcheaponline.com
buyrealcheapjordans.com
buyretrojordansforsale.com
cheapsauthenticjordans.com
cheapsjordanoutlet.com
jordanshoesonlines.net
onlinebuyairjordans.com

topsportsstore.com Group T

 

www .thejordanair.com Group T

 

Page 26 of 33
CaGade1B-F3-08082-OVERS F DDaouerens’ 2-B1- lle dF 06d297122/ Pag P ageo8 B14 97

DOMAIN NAME

 

TOTAL AWARD (Group T) $10.8 million

 

DOMAIN NAME

 

Tim Rhudy

 

lessspam42(@gmail.com
colepenam@gmail.com

Group U

www.authentic-jordans.us Group U
cheapjordan1 1 bred.us
jordans 13hegotgame.org
objordans.com
bred11scheap.us

breds1 1forsale.us
hegotgame 13sale.us
cheapjordan 1 1 bred.org
authentic-jordans.us
cheapjordan 1 1 bred.net
cheapjordanbred11.com
cheapjordanbred11.net
cheapjordanbred 1 1.org
cheapjordansforsales.com
jordan 13hegotgame13s.org
jordan 13shegotgame.net
jordan 13shegotgame.org
cheapjordanbred11.us
jordan 13hegotgame13s.us
jordans 13hegotgame.us
TOTAL AWARD (Group U) $17.6 million

 

 

 

Jinhui Zheng

Zheng Jinzhao

Chen Min

Jinhui Zheng

Meixia Zheng
Pin Pai51

 

topbrarig@hotmail.com
inttopshop1@hotmail.com

enikeshop1@yahoo.com
topbrand-ol@hotmail.com
ittopshop1@hotmail.com
inttopshop@hotmail.com

echeapshoes@yahoo.com
enikeshop1@yahoo.com
trade38 1@hotmail.com
inttopshop@yahoo.com
cheapshoesa@aliyun.com
740120070@qq.com
brandol@yahoo.cn
brand-ol@yahoo.com

DOMAIN NAME

www.shopuq.com Group V
www.shopuq.com Group V
www .tradeut.com Group V
tradeak.com Group V
echeapshoes@hotmail.com Group V
www.echeapmk.com Group V
www.brandyz.com Group V

www.shopuq.com

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brandnk.com

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cheapbn.com
shoesob.com
shoeseb.com

 

 

Page 27 of 33
 

CaGade1B-F3-08082-OVERS F DDaouerens’ 2-B1- Fle dF 06d297122/ Pag P ageot B41 97

DOMAIN NAME

 

Weng Tian Rong

Zheng Jinhui

ZhiXiong Huang ZhiXiong
Huang ZhiXiong Huang
ZhiXiong Huang ZhiXiong
Huang

2B

Zhang Jiu Chu

Zheng Jin Hui

7k

Chen Shui Lian
BA

Weng Tian Rong
aia

Weng Qing Zhong
GAL

Weng Qing Yun

=

Zheng Jin Hui
AR

Zheng Jin Zhao

brggingg@hotmail.com
inttopshop@hotmail.com
mttopshop1@hotmail.com

sdfasdfa@net.com

961393468@qq.com

cheapb2b@yahoo.cn
nikepumaaa@yahoo.cn
bagssell@yahoo.cn
etopshop 1@hotmail.com
bestbrand5 1@hotmail.com
brand-ol88@hotmail.com
fashion777-2(@hotmail.com
inttopshop1@hotmail.com
trade381@hotmail.com
brand-ol77@hotmail.com
etopshop3@hotmail.com
740120070@qq.com
trade38 1@hotmail.com

brggingg@hotmail.com
980965093@qq.com

topbrand-ol@hotmail.com
etopshop5@hotmail.com
brand512@hotmail.com
trade383@hotmail.com
brandol55@hotmail.com
etopshop2(@hotmail.com
bragggdd@hotmail.com
topbrand-ol@hotmail.com
cheapb2b@yahoo.cn
fashion777-5(@hotmail.com

etopshop 1@hotmail.com
brand-ol88@hotmail.com
inttopshop1@hotmail.com
brand-ol77@hotmail.com
bestbrand5 1@hotmail.com
trade381@hotmail.com
brand-ol66@hotmail.com
enikeshop@hotmail.com
brand511@hotmail.com
trad381@hotmail.com
inttopbrand@hotmail.com
brandol88@hotmail.com

brandnn.com
www.cheapbn.com
www.branden.ru

www.shopyny.com
echeapshoes.com

brand-ol66@hotmail.com

740120070@qq.com
trade382(@hotmail.com

inttopshop@hotmail.com
enikeshop@yahoo.cn

echeapshoes.com
www.cheaperol.com

www .jeansb2b.com(no violation)
topbrand-ol@hotmail.com

trade382(@hotmail.com
trade38 1@hotmail.com

trade38 1@hotmail.com

Group V

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Page 28 of 33
CaGade1B-F3-08082-OVERS F DDaouerens’ 2-B1- lle dF 060297122/ Pag? ageot B14 97

DOMAIN NAME

 

TOTAL AWARD (Group V)

$65 million |

 

 

DOMAIN NAME

 

Canganic Kong

Dmmeli Duhaime

Fanskel Lemuel

Howard Linsa
Jackson Smith
Jesus jimenez

John Peir

Join Lin

sneakers2013@gmail.com

nikesneakersusstore@gmail.com
lebron10basketball@gmail.com
customerserviceonlinenow@gma
il.com

lebron 10basketball@gmail.com

customerserviceonlinenow@gma
il.com

hotairjordan 13@gmail.com
hotairjordanretro@gmail.com
emmeliduhaime3502@hotmail.c
om
jordanretrostation@gmail.com
Sneakers2013@gmail.com

nikesneakersusstore@gmail.com
jordanretrostation@gmail.com

customerserviceonlinenow@gma
il.com
Nikesneakersusstore@gmail.com
Sneakers2013@gmail.com

nikesneakersusstore@gmail.com
jordan 132013store@gmail.com
johnpeir@gmail.com
nikesneakersusstore@gmail.com
Retrosjordan13@gmail.com
linjian891022@gmail.com
nikesneakersusstore@gmail.com
Sneakers2013@gmail.com
Sneakers2013@gmail.com
Nikesneakersaler@gmail.com
Sale@airmax2013box.com

www.max-2013.com

jordan | l-us.com
jordanS-us.com
jordanshoesusshopping.com
nikeairmax2014new.com
nikedunkfanatics.com
nikedunkhighfanatics.com
airjordanretrosbox.com
hotairjordan13.com
hotairjordanretro.com
jordanretroshoesinthebox.com
jordanretrostation.com

www.dunkhigh2013.com
www.new20 13airmax.com
2013jordanretros.com
airjordaniv-us.com
jordanretro4-us.com
jordanretrohot.com

www .lebronxi2014s.com

www.2013sbdunk.com

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jordan 13-2013.com
jordanreto2013.com
retrosjordan13.com

airjordanSstyle.com
airjordangetall.com
jordan] lavailable.com
jordan] 1concordbox.com
jordan] lcoolgreybox.com
jordan 1 1fanatics.com
jordan] lspacejambox.com
jordan] 1lspacejam-us.com
jordan4oreobox.com
jordanSshoes2013style.com
jordanSsretrosale.com
jordan6retrosale.com
jordanretro2014.com
jordanretrofanatics.com
www.max-2013.com
jordanshoesinbox.com
jordanshoesparadise.com
jordanshoeswithinhere.com
jordansretrogethome.com

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CaGade1B-r3-08082-OVERS F DDaouerens’ 2-B1- lle dF 06d297122/ Pag P ageot B14 97

 

Mabelle Weig

Marshall Matthew

Nian Hua

nikesneakersusstore@gmail.com
airforceonelowbox@gmail.com

nikesneakersusstore@gmail.com

nianhua.t@gmail.com
addjordanshoes@gmail.com
hotjordanshoessupermarket@gm
ail.com
nikesneakersusstore@gmail.com
jordanshoesstation@gmail.com
Sneakers2013@gmail.com

DOMAIN NAME

jordansretrosetout.com
newjordansretroshoes.com
nike-factorystore.com
www.airmax2013box.com
www.airmaxhyperfuse2013.com
www jordanshoesinthebox.com
www lebron] Oinstock.com
jordanretroget.com
www.womensjordan3.com

airjordan5-firered.com
airjordan6retail.com
jordan 13shoesretail.com
soccercleatsnew2013.com
newairjordan3firered.com
jordanSretail.com

Group W

nikeairmax90cheap.com
nikeairmaxfanatics.com
nikedunkhighforcheap.com
nikesbfanatics.com

Group W

2013bred1 ljordans.com
addjordanshoes.com
airjordanspecialsale.com
airjordanusstore.com

bred 1 ljordans.com
bredjordanshoes.com
bredjordans-us.com
hotjordanshoessupermarket.com
jordan 1 lbasketball.com
jordan 13basketball.com
jordan3fireredbay.com
jordanSbasketball.com
jordan5fireredbay.com
jordannewretroshoes.com
jordanretrol 1 fanatics.com
jordanretrofirered.com
jordanretrovip.com
jordansbred-us.com
www.redjordan!l1.com
jordanshoesfanatics.com
jordanshoesstation.com
jordansspecialsale.com
newretrojordan.com
nikejordan11bred.com
www.378037-010.com
www.dunklowinthebox.com
Sneakers2013@gmail.com
www lebron 10fans.com
www lebronshoesofficialshop.co
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Group W

 

 

Page 30 of 33
CaGade1B-F3-08082-OVERS F DDaoumerens’ 2-B1-€lle dF 060297122/ Pagel &geo? B41 97

DOMAIN NAME

 

|

| Nicol Duchaine

| Nikolaj Chernets
Peir Junck

| Sale Jordaner

| Shinsaku Drock

Tang Nianhua

customerserviceonlinenow@gma
il.com

nicolonline@hotmail.com
nikesneakersusstore@gmail.com
Servicesonlinenow@hotmail.co
m

Dunkhighkicks@gmail.com

Sale@offerairmax90.com

johnpeir@163.com
customerserviceonlinenow@gma
il.com

johnpeir@163.com
sale@freerun3sshoes.com
sale@jordangalaxyshoes.com
servicesonlinenow@hotmail.com
Sale@offerbasketballshoes.com
Sneakers2013@gmail.com

nikesneakersusstore@gmail.com
Sale@dunkhighsneaker.com
Sale@sbdunklow.com

customerserviceonlinenow@gma
il.com
shinsakuonline@hotmail.com
Sneakers2013@gmail.com

NianHua.T@gmail.com

www.offerjordan4.com
jordanshoes2014.com

2013jordansretro.com Group W
ejordanretrobox.com

jordanretrofans.com
jordanretrogameshoes.com
jordanretroshoes-us.com

jordanstore-us.com

www. |3-retro.com

www.buyairjordan-us.com
www.dunkhighkicks.com

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airmax2014running.com
ajasale.com
jordanretrofor2014.com
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jordan3retrofor2014.com
jordan4retrofor2014.com
jordanSretrofor2014.com
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jordanretroshoesbay.com
jordanretroshoesfans.com
freerun3sshoes.com
jordanretrosneakerssale.com
jordans2013.com

lebron] 1-us.com
newairmax2014running.com
nikeblazer-fr.com
nikefree-denmarkstore.com
nikemercurial20 14soccer.com
offerbasketballshoes.com
ownbasketballsneakers.com
bred-11.com

www jordan! lbredbox.com

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www.dunkhighsneaker.com
www.sbdunklow.com

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airjordanretroshoesbox.com
foampositeonekicks.com
retrojordaninthebox.com
www.highdunkshoes.com

NianHua.T@gmail.com Group W

 

Page 31 of 33
CaGade1B-r3-08082-OVERS F DDaouerens’ 2-B1- lle dF 6d297122/ Pag P &Geo8 B1 97

DOMAIN NAME

 

Wu Qingfeng
Zeynab Bstalvey

PE

Lin Jian
MAR
Nianhua Tang

 

Servicesonlinenow@hotmail.co
m
efashionbiz@hotmail.com

zeynabstalvey@gmail.com
customerserviceonlinenow@gma
il.com
nikesneakersusstore@gmail.com

linjian891022@gmail.com

NianHua.T@gmail.com

www.airmax2013boxes.com

nike-factorystore.com

airjordan3-firered.com
www.soccercleatscity.com
getjordanretro.com
hotjordanretro4.com
hotjordansretro.com
jordan] Inewrelease.com
jordan] lrelease2013 com
jordan] lretail.com
jordanretrocity.com
jordanretroretails.com
airjordanlowshoes.com

linjian891022@gmail.com

TOTAL AWARD (Group W)

Group W

Group W
Group W

Group W

Group W

 

$30 million

 

DOMAIN NAME

 

CHEN KUN

CHEN YU
Gao Wei

Kun Chen

QIU JING
Xianghang003 Lin
ZHOU KAI

 

nikefair@msn.com

Nikefair@msn.com
254740383@qq.com

Nikefair@msn.com
1939762843@qq.com
Nikefair@msn.com

254740383@qq.com
Nikefair@msn.com
Bestfreeruns@hotmail.com

Nikefair@msn.com
1939762843(@qq.com
Bestfreeruns@hotmail.com

www.cheapestlebron10.com

cheapnikelebrons.com
www.cheaplebron10star.com
www.cheapslebron11.com
www lebron] 1cheap.com
www.salecheaplebron10.com

www.cheaplebron10shoe.com
www .lebron10cheaps.com
www.cheapestlebron10.com
www.cheapslebron10.com
cheapsnikefree.org

salecheapnikefrees.com
nikecheaprun.com

billigenikefrees.com
cheaplebron.org
cheaplebron10nike.com
cheapnikelebron10shoe.com
nikefoampositecheap.net
nikelebron10cheap.com
salecheapnikes.com
www.gofreeruns.com

www .cheaplebron.org
www.cheaplebron10x.com
www.cheap-lebrons.com
www.cheapsalelebron10.com

Group X
Group X

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Group X

 

 

Page 32 of 33
CaGade1B-F3-08082-OVERS F DDaouerens’ 2-B1-€lle dF 060297122/ Pag P ageod B41 97

EMAIL DOMAIN NAME

 

www.cheapsfoamposite.com
www .freerunsinusa.com
www.bestlebronshoes.com

TOTAL AWARD (Group X) $21.7 million

 

DOMAIN NAME

 
 
    

      

www. hotairjordan13.com Group Y
TOTAL AWARD (Group Y) $15.1 million

hotairjordan 13@gmail.com

 

EMAIL DOMAIN NAME GROUP

       

Shan Peter www.cheapuk-niketrainers.couk Group Z
Chengfei Bei beichengfei@yeah net billignikeairmaxnorge.com Group Z
TOTAL AWARD (Group Z) $15.1 million

 

Page 33 of 33
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EXHIBIT 3
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9 dnoin WOO ‘[IeUNOY A qplLioseuRUUT]asS NAA 10],
Woo USTU@M)eaTUTIMep
Wood [reUs@)z7yuRgedxed
9 dnorp | woo'97 | @)zyueqedAed ulging uRYy7
9 dno WO9'6¢ 1B)666888 [edAed alfourny 19
2 dnoin WOd TRUOYM) MpLoseueU]yas Joseuryy mn
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WO dAT[M)SOUT[SABCSa}sey
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ATTACHMENT D

 
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NIKE, INC. and CONVERSE INC., : DATE FILED: _!0]d0}19_!
Plaintiffs, -
-against- No. 2013 Civ. 8012 (CM)
MARIA WU d/b/a

WWwW.SHOECAPSXYZ.COM, et al.,

Defendants.

 

 

WHEREAS, this Court entered judgment in the above-captioned action on August 20,
2015 (the Court’s “Judgment”), granting the motion of Plaintiffs NIKE, Inc. (“NIKE”) and
Converse, Inc. (“Converse”) for a default judgment and permanently enjoining all Defendants as
set forth in the Exhibits to the Judgment (“Judgment Debtors”) and their “officers, directors,
agents, representatives, successors or assigns, and all persons acting in concert or in participation
with any of them” from, among other things, using trademarks owned by Plaintiffs (“Plaintiffs’
Marks”) or selling counterfeit versions of Plaintiffs’ products (“Counterfeit Products”),
registering or using any domain names incorporating or otherwise making use of Plaintiffs’
Marks, further infringing Plaintiffs’ Marks or competing unfairly with Plaintiffs in any way, and
forming new entities or associations, or utilizing any other device for the purpose of
circumventing or otherwise avoiding the prohibitions set forth in the injunction. A true and
correct copy of the Judgment and Exhibits 1, 2 and 3 thereto, which reflected the known

information about Judgment Debtors, including the email addresses, websites and bank accounts

 

 
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used in connection with their counterfeiting operation at the time the Judgment was entered, is
attached hereto as Attachment 1;

WHEREAS, the Court’s Judgment granted Plaintiffs NIKE and Converse’s request for an
accounting of profits and the Court awarded equitable relief against Judgment Debtors totaling
more than $1 billion;

WHEREAS, Next Investments, LLC (“Next” together with NIKE and Converse,
Plaintiffs”), Assignee to the Judgment, has moved ex parte against Judgment Debtors for an
order to show cause (1) why Judgment Debtors should not be held in contempt of court; (2) why
the Court should not find that additional email addresses identified by Plaintiffs listed in
Attachment 2 hereto (the “Additional Email Addresses”) are being used in concert or
participation with Judgment Debtors to violate the Judgment; and (3) why the Court should not
find that additional websites identified by Plaintiffs listed in Attachment 3 hereto (the
“Additional Websites”), and any bank accounts associated with the Additional Emails or
Additional Websites, including but not limited to the bank accounts listed in Attachment 4 hereto
(the “Additional Bank Accounts”) are property of Judgment Debtors subject to the terms of the
Judgment. Next also moved for (1) a temporary asset restraining order; (2) an order to
temporarily disable certain domain names; (3) an order authorizing expedited discovery; and (4)
an order authorizing service by electronic mail;

WHEREAS, having reviewed Next’s Memorandum of Law and supporting declarations,
the Court signed an order on October 10, 2017 ordering Judgment Debtors to appear before this
Court on October 20, 2017 (the “Order”), to show cause (1) why Judgment Debtors should not
be held in contempt of court; (2) why the Court should not find that the Additional Email

Addresses are being used in concert or participation with Judgment Debtors to violate the

 

 
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Judgment; and (3) why the Court should not find that the Additional Websites and the Additional
Bank Accounts are property of Judgment Debtors subject to the terms of the Judgment: and
further granted Next’s application for a temporary asset restraining order, order to temporarily
suspend certain domain names, order authorizing expedited discovery, and order authorizing
service by electronic means;

WHEREAS, Judgment Debtors were served with the Order by email on October 12,
2017, pursuant to the alternative service provisions contained in the Order:

WHEREAS, on October 19, 2017, Next filed a Certificate of Service demonstrating that
Judgment Debtors were served via email with the Order;

WHEREAS, Judgment Debtors failed to submit any papers opposing entry of an order (1)
finding Judgment Debtors to be in contempt of court; (2) finding that the Additional Email
Addresses are being used in concert or participation with Judgment Debtors to violate the
Judgment; and (3) that the Additional Websites and Additional Bank Accounts are property of
Judgment Debtors subject to the terms of the Judgment; and

WHEREAS, Judgment Debtors failed to appear before the Court on October 20, 2017;

The Court now finds the following:

a. Plaintiffs have demonstrated that they are likely to succeed in showing that this
Court’s Judgment was a clear and unambiguous court order prohibiting Judgment Debtors from,
among other things, making use of Plaintiffs’ Marks, or any reproduction, counterfeit, copy, or
colorable imitation of Plaintiffs’ Marks, or any mark confusingly similar thereto or likely to
dilute or detract from the Plaintiffs’ Marks in connection with the manufacturing, distributing,
delivering, shipping, importing, exporting, advertising, marketing, promoting, selling or offering

for sale Counterfeit Products or any other products confusingly similar to Plaintiffs’ products, or

 

 
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that otherwise bear, contain, display or utilize any of the Plaintiffs’ Marks, and registering or
using any domain names incorporating, in whole or in part, any word or mark identical or similar
to the name NIKE or Converse or otherwise making of the Plaintiffs’ Marks;

b. Plaintiffs have demonstrated that they are likely to succeed in showing that this
Court’s Judgment was a clear and unambiguous order requiring Judgment Debtors to account for
their profits and make payments towards satisfying the more $1 billion judgment;

c. Plaintiffs have demonstrated that they are likely to succeed in showing by clear
and convincing proof that Judgment Debtors, through use of the Additional Email Addresses and
Additional Websites, have not complied with the Judgment by continuing to use counterfeits or
infringements of Plaintiffs’ Marks in connection with the manufacture, exportation, importation,
distribution, marketing, advertising, offer for sale and or/sale of Counterfeit Products, by
continuing to operate websites incorporating words or marks identical or similar to Plaintiffs’
Marks, including in the domain names of certain Additional Websites, by not accounting for
their profits; and by not making any payments towards satisfying the more than $1 billion
judgment;

d. Plaintiffs have demonstrated that they are likely to succeed in showing that
Judgment Debtors have not exercised reasonable diligence in attempting to comply with the
Judgment, as Judgment Debtors have continued their counterfeiting operation, have not provided
an accounting of profits, and have made no attempt to satisfy the more $1 billion judgment;

e. Plaintiffs have demonstrated that they are likely to succeed in showing that the
Additional Email Addresses are being used in concert or participation with Judgment Debtors to

violate the Judgment;

 

 
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f. Plaintiffs have demonstrated that they are likely to succeed in showing that the
Additional Websites and Additional Bank Accounts are the property of the Judgment Debtors
subject to the terms set forth in the Judgment;

g. Plaintiffs have demonstrated that they are likely to succeed in showing that
Judgment Debtors continue to operate their counterfeiting operation through the use of additional
aliases associated with the Additional Websites, Additional Email Addresses, and the Additional
Bank Accounts (the “Judgment Debtors’ Aliases”), as set forth in Attachment 6 hereto;

h. Plaintiffs have demonstrated that they are likely to succeed in showing that
Judgment Debtors have a bad faith intent to profit by associating themselves with Plaintiffs and
the Plaintiffs’ Marks without Plaintiffs’ authorization;

i. Plaintiffs have demonstrated that Judgment Debtors have gone to great lengths to
conceal themselves and their ill-gotten proceeds from Plaintiffs’ and this Court’s detection,
including by providing intentionally deceptive contact information and using multiple false
identities and addresses associated with their operations;

j. Plaintiffs have demonstrated that Judgment Debtors, or other persons acting in
concert with Judgment Debtors, would likely destroy, move, hide, or otherwise make the
Counterfeit Products, Judgment Debtors’ means of selling and distributing the Counterfeit
Products, bank accounts used in connection with the sale of Counterfeit Products and Judgment
Debtors’ counterfeiting operation, records relating to the ultimate disposition of Judgment
Debtors’ ill-gotten proceeds, and business records related thereto, inaccessible to Plaintiffs or the —
Court if Plaintiffs were to proceed on notice to the Judgment Debtors, thus frustrating the

ultimate relief that Plaintiffs seek in this action;

 

 
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k. Plaintiffs have demonstrated that the harm to Plaintiffs from the denial of the
requested order outweighs the harm to Judgment Debtors’ legitimate interests against granting
such an order; and

1. Plaintiffs have demonstrated that the entry of an order other than the requested
order would not adequately achieve the purposes of the Lanham Act and Plaintiffs’ rights
pursuant to the Judgment, including Plaintiffs’ rights to the monetary damages set forth in the
Judgment.

m. Next has provided adequate security for the payment of such damages as any
person may be entitled to recover as a result of a wrongful restraint hereunder, by posting a
$10,000 bond in accordance with the Order;

n. Judgment Debtors were properly served via electronic mail with the Order on
October 12, 2017, and Judgment Debtors had proper notice of the hearing to be held on October
20, 2017 before this Court; and

o. None of Judgment Debtors have filed a response to Next’s moving papers or
otherwise appeared in this action.

Accordingly, this Court finds that entry of an order (1) finding Judgment Debtors to
be in contempt of court; (2) finding that the Additional Email Addresses are being used in
concert or participation with Judgment Debtors to violate the Judgment; and (3) that the
Additional Websites and Additional Bank Accounts are property of Judgment Debtors subject to
the terms of the Judgment.

THEREFORE, IT IS HEREBY ORDERED that:

1. Judgment Debtors are in contempt of court;

 

 
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2. the Additional Email Addresses are being used in concert or participation with
Judgment Debtors to violate the Judgment; and

3. that the Additional Websites and Additional Bank Accounts are property of
Judgment Debtors subject to the terms of the Judgment, including the injunction and liability for
the award set forth therein.

4, ITIS FURTHER ORDERED that in accordance with Rule 65 of the Federal
Rules of Civil Procedure, New York Civil Practice Law and Rules § 5222, 15 U.S.C. § 1116(a),
and paragraph 13 of the Judgment, Judgment Debtors, their officers, directors, agents,
representatives, successors or assigns, and all persons acting in concert or in participation with
any of them, including Judgment Debtors’ Aliases and any third parties, including third party
financial service providers, receiving actual notice of this Order by personal service or otherwise,
are restrained and enjoined from transferring, withdrawing or disposing of any money or other
assets into or out of any accounts held by, associated with, or utilized by Judgment Debtors,
including the Additional Bank Accounts listed in Attachment 4 hereto, regardless of whether
such money or assets are held in the U.S. or abroad. This includes but is not limited to any
money or assets held with: (a) PayPal, Inc.; (b) Bank of China, Industrial and Commercial Bank
of China, JPMorgan Chase, China Construction Bank, and USAA Federal Savings Bank,
including but not limited to bank accounts set forth in Attachment 4; (c) Western Union; (d)
MoneyGram; (e) MasterCard, Visa, American Express and/or Discover; (f) Payitrust Co., Ltd.;
(g) Realpay; (h) Moneybrace; (i) Vimpay Co. Ltd.; () Pmnorth; (k) Promptlypayments, (1)

Wedopay; (m) ECPSS; and (n) GlbPay.

 

 

 

 
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5. ITIS FURTHER ORDERED that upon (2) business days’ written notice to the
Court and Next’s counsel, any Judgment Debtor or affected third party may, upon proper
showing, appear and move for dissolution or modification of the provisions of this order.

6. IT IS FURTHER ORDERED that within (2) days from the date of this order,
Next shall serve this order on Judgment Debtors at the email addresses set forth in the Exhibits to
the Judgment in Attachment 1 hereto and in Attachment 2 hereto, which Plaintiffs have
demonstrated will provide adequate notice to Judgment Debtors.

7. IT IS FURTHER ORDERED that, upon a showing that Judgment Debtors are
continuing to sell Counterfeit Products on newly-detected additional websites (“Newly Detected
Additional Websites”), Next may move to amend this order to extend the application of the relief
granted herein to the to the Newly-Detected Additional Websites.

8. ITIS FURTHER ORDERED that Plaintiffs may continue to seek expedited
discovery by providing actual notice of this order to any banks, savings and loan associations,
payment processors or other financial institutions, merchant account providers, payment
providers, third party processors, or credit card associations, which have provided services,
received payment, or held assets for any Judgment Debtor any of Judgment Debtor’s operations,
any of the Additional Websites, or for any other website owned or controlled by any Judgment
Debtors, including without limitation, PayPal, MasterCard, Visa, American Express, and
Discover (collectively, “Third Party Financial Service Providers”); and

9, ITIS FURTHER ORDERED that, within ten (10) days of receiving actual notice
of this order by personal service or otherwise, all Third Party Financial Service Providers must
provide to Next’s counsel all documents and records in their possession, custody or control,

whether located in the U.S. or abroad, relating to any financial accounts (including but not

 

 
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limited to any savings, checking, money market, or payment processing accounts) held by,

associated with, or utilized the Judgment Debtors, their officers, directors, agents, employees,

representatives, successors or assigns, and all persons acting in concert or in participation with

any of them. This includes all documents and records relating to:

a. the Additional Websites and any other websites registered by Judgment

c.

Debtors, including the identities of the individuals or entities that
registered and operated the Additional Websites;

the manufacturing, exporting, importing, distributing, marketing,
advertising, offering for sale, and/or selling of Counterfeit Products by
Judgment Debtors, their officers, directors, agents, employees,
representatives, successors or assigns, and all persons acting in concert or
in participation with any of them;

the identities of any and all credit card processing agencies, merchant
acquiring banks, or other financial institutions responsible for processing
credit card, debit card, or other forms of financial transactions for the
Additional Websites;

the identities and addresses of Judgment Debtors, their officers, directors,
agents, employees, representatives, successors or assigns, and all persons
acting in concert or in participation with any of them, including without
limitation, identifying information associated with the Additional

Websites;

 

 

 

 
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e. payments made to or by Judgment Debtors in exchange for goods or
services provided by or to Judgment Debtors, including information
sufficient to identify the recipient and beneficiary of such payment;

f. identifying information, including full account numbers;

g. account opening documents, including account applications, signature
cards, copies of identification documents provided and, if a business
account, copies of any corporate resolution to open account and other
business documents provided which may include articles of incorporation
for the business;

h. all deposits and withdrawals and any supporting documentation, including
deposit slips, withdrawal slips, cancelled checks (both sides), and periodic
account statements;

i. all wire transfers into the financial accounts, including documents
sufficient to identify the source of transferred funds, such as documents
reflecting the name of bank or entity from which the funds originated, the
account number from which the funds were transferred, and the name of
the person or entity from whose account such funds were transferred; and

j. all wire transfers out of the financial accounts, including documents
sufficient to identify the destination of the transferred funds, such as
documents reflecting the name of the beneficiary of such transfer, the
identity of the beneficiary’s bank, and the beneficiary’s full account

number.

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10. IT IS FURTHER ORDERED that, pursuant to this Court’s authority under
Federal Rules of Civil Procedure 1, 26, and 34, Plaintiffs’ rights under Federal Rule of Civil
Procedure 69(2) in connection with the Judgment, and this Court’s own inherent authority,
Plaintiffs may also serve subpoenas for the production of documents, electronically stored
information, or tangible things similar to those allowed in the preceding paragraphs of this order
on an expedited basis pursuant to this order, and that within (10) days of receiving actual notice
of this order and being served with a subpoena pursuant to this order, all Third Party Financial
Service Providers who receive such subpoena must either provide to Next’s counsel all
responsive documents and records in their possession, custody or control, whether located in the
U.S. or abroad, or else seek relief from this Court from the obligations created by this order.

11. IT IS FURTHER ORDERED that any domain registry, including but not limited
to Verisign, Inc., Neustar, Inc., Afilias Limited, Nominet UK, the Public Interest Registry, and/or
an individual registrar holding or listing one or more domain names used in conjunction with the
Additional Websites selling Counterfeit Products or using the Plaintiffs Marks’ in their domain
names, as listed in Attachment 5 hereto, shall, within five (5) business days of receiving actual
notice of this order by personal service or otherwise, permanently disable these domain names,
through a registry hold or otherwise, and make them inactive and untransferable pending further
information from Plaintiffs subject to Paragraph 7 therein which states: “the registries and/or the
individual registrars shall transfer the domain names set forth in [the Judgment] to the ownership
and control of Plaintiffs, through the registrar of Plaintiffs’ choosing, or at Plaintiffs’ direction
release such domain names”. Notwithstanding the preceding sentence, the terms of this

Paragraph shall have no application if a domain name already has been disabled and/or the

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ownership of such domain name has been transferred by the registry or registrar pursuant to a
court order issued in another litigation.

12. IT IS FURTHER ORDERED, pursuant to Fed. R. Civ. P. 65(d)(2) and consistent
with the Judgment, that any third party website service providers, including but not limited to
domain privacy services (e.g., WholsGuard.com and PrivacyProtect.org), shall, within five (5)
business days of receiving actual notice of this order by personal service or otherwise, disable all
services provided to any of the domain names set forth in Attachment 5 hereto.

13. IT IS FURTHER ORDERED, by automatic operation of Fed. R. Civ, P. 65(d)({2),
that all third parties who act in concert or participation with Judgment Debtors, including
Judgment Debtors Aliases, and who receive actual notice of this order by personal service or
otherwise shall be bound by the terms of this order and are prohibited from assisting in any
violation of this order, including, without limitation:

a. permitting the transfer, withdrawal or disposal of any money or other
assets by Judgment Debtors, their officers, directors, agents,
representatives, successors or assigns, and all persons acting in concert or
in participation with any of them, into or out of any accounts held by,
associated with or utilized by any of the Judgment Debtors, regardless of
whether such money or assets are held in the U.S. or abroad;

b. permitting the advertising, promoting or marketing of the Counterfeit
Products or the Additional Websites, or the sale or distribution of
Counterfeit Products by Judgment Debtors, Judgment Debtors’ Aliases,
their officers, directors, agents, representatives, successors or assigns, and

all persons acting in concert or participation with any of them; and

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¢. supporting, hosting or providing e-commerce services to the Additional
Websites, including continuing to connect customers to the Additional
Websites.

14. IT IS FURTHER ORDERED that any third party that has received proper notice
of this Order pursuant to Fed R. Civ. P. 65(d)(2), and requires clarifications as to its duties, if
any, under this Order, may make an application to this Court, with notice to Next’s counsel.

15. Judgment Debtors are hereby given further notice that they may be deemed to
have actual notice of the issuance and terms of this order and any act by them or anyone of them
in violation of the terms of this order may be considered and prosecuted as contempt of this

Court.

IT IS SO ORDERED. “A L Veo
DATED thisJ0_ day of One 2017 By:

' COLLEEN MCMAHON
Hour: / QD. Y o a.m... UNITED STATES DISTRICT JUDGE

 

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Robert L. Weigel

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(212) 351-4000

Attorneys for Plaintiffs NIKE, Inc. and Converse Inc.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

NIKE, INC, and CONVERSE INC.,
Plaintiffs,
Vv.
MARIA WU d/b/a WWW.SHOECAPSXYZ.COM, et al.,

Defendants.

 

 

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2013 Civ. 8012 (SAS)

[PROPO ] DEFAULT

JUDGMENT

WHEREAS, this action having been commenced by Plaintiffs NIKE Inc. (“NIKE”) and

Converse Inc. (“Converse”) (collectively, “Plaintiffs’”) on November 12, 2013 by the filing of the

Summons and Complaint asserting that Defendants Maria Wu d/b/a www.shoecapsxyz.com;

Linhai Ke d/b/a www.shoecapsxyz.com; storeonlineservice2012@gmail.com d/b/a

www. freerunonlocker.co.uk; service2@airemail net d/b/a www.footwearsuper.co.uk; Lin Zoe

d/b/a www. wholesalenfljerseyssale.com; Comminutete More K.K. d/b/a

www.wholesalenfljerseyssale.com; Brakehemalt K.K. d/b/a www.nflofchina.com and

www.storeonlineselllnow.com; customerserviceNol @hotmail.com d/b/a www.dsmrecap.com;

secureonlinepay@hotmail.com d/b/a www.soccerumarket.com; service3@linkonlinemail.com

d/b/a www.d3classicshoes.co.nz; servicel @webseemial.com d/b/a www.aflshox.com; Bodon

 
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Trading d/b/a www.cheapkdSshoes.com and www. freesrunsstore.com; Eric Lee d/b/a
www.cheapkdSshoes.com; Meijin Huang d/b/a www.cheapkd5shoes.com; Zhizhen Li d/b/a
www .freesrunsstore.com; Cheap Nike Free Run Trade Co. Ltd. d/b/a www.nikefree4s.com;
service@nikefreeruns30.com d/b/a www.nikefreeruns30.com; nikefreeonline2012@hotmail.com
d/b/a www. freebuyshoes.com and www.newfreeshoes.com; Chen Jinxing d/b/a
www.buywikionline.com; lindajerseys@gmail.com d/b/a www. lindajerseys.com and www.linda-
jerseys.com; University Jhug Limited d/b/a www.yes-shoe.com and www. yes-shoe.net; Zheng
Jiangyang d/b/a www.greatwholesalejersyes.net; Extentbargain K.K. d/b/a www. for-jerseys.biz
and www.myspeto.com; bbbpppkkk@yahoo.com d/b/a www.nikefreeruns-factory.com; Bi Ning
Zhuo d/b/a www.freerunlinea.com; Jiang Lili d/b/a www.cheapnikeairmax-mart.com;
customerservice.L Y@gmail.com d/b/a www.airmaxofficialshop.co.uk and
www.airmax90uksales.co.uk; service@kickslion.com d/b/a www.kickslion.net; Kendrickvery PT
d/b/a www.oykununsesi.com and www.payfororder.com; wholesalejerseyscenter@gmail.com
d/b/a www.nfljerseyswebsite.com; Meion Online Store d/b/a www.buyrealcheapjordans.com and
www.fashionpay.com; lessspam42@gmail.com d/b/a www.authentic-jordans.us; Jinhui Zheng
d/b/a www.shopug.com; Zheng Jinzhao d/b/a www.shopugq.com; sneakers2013@gmail.com
d/b/a www.max-2013.com; nikefair@msn.com d/b/a www.cheapestlebron 10.com;
hotairjordan13@gmail.com d/b/a www. hotairjordan13.com; Shan Peter d/b/a www.cheapuk-
niketrainers.co.uk have engaged in unlawful trademark infringement, trademark counterfeiting,
cybersquatting, false designation of origin, trademark dilution, unfair competition and deception
under federal and New York law through their unauthorized use of trademarks owned by
Plaintiffs (“Plaintiffs’ Marks”) in manufacturing, marketing, and selling counterfeit versions of

Plaintiffs’ products (the “Counterfeit Products”) and seeking an accounting of profits;

 

 
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WHEREAS, the Court entered an order on November 14, 2013 (the “TRO”), restraining
defendants from, infer alia, manufacturing, distributing, delivering, shipping, importing,
exporting, advertising, marketing, promoting, selling or offering for sale Counterfeit Products or
any other products confusingly similar to Plaintiffs’ Products, or any other products that
otherwise bear, contain, display, or utilize any of the Plaintiffs’ Marks, any derivation or
colorable imitation thereof, or any mark confusingly similar thereto or likely to dilute or detract
from the Plaintiffs’ Marks, or using, transferring or registering any domain name making
unauthorized use of Plaintiffs’ Marks; and ordered that Defendants appear before the Court on
November 27, 2013 to show cause as to why an order granting a preliminary injunction should
not be granted; and further ordered Defendants to respond to Plaintiffs’ discovery requests by
December 4, 2013;

WHEREAS, the TRO ordered that any money or other assets of Defendants (collectively
“Defendants’ Assets”) were enjoined from being transferred, withdrawn or disposed of;

WHEREAS, on November 15, 2013, the Court endorsed Plaintiffs’ letter requesting an
extension of time to November 18, 2013 to effect service on Defendants, and also extended the
Defendants’ time to respond to the order to show cause from November 20, 2013 to November
22, 2013 (the “Endorsed Letter”);

WHEREAS, Defendants were served with the Summons and Complaint, TRO and the
Endorsed Letter by email, pursuant to the alternative service provisions contained in the TRO, as
set forth in the Plaintiffs’ Certificate of Service, dated November 27, 2013;

WHEREAS, Defendants failed to submit any papers opposing entry of the preliminary

injunction, and failed to appear before the Court on November 27, 2013;

 

 

 
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WHEREAS, having concluded that Plaintiffs made the required showing for injunctive
relief, the Court issued a preliminary injunction on December 3, 2013 (the “PI Order”) enjoining
Defendants from, inter alia, manufacturing, distributing, delivering, shipping, importing,
exporting, advertising, marketing, promoting, selling or offering for sale Counterfeit Products or
any other products confusingly similar to Plaintiffs’ Products, or any other products that
otherwise bear, contain, display, or utilize any of the Plaintiffs’ Marks, any derivation or
colorable imitation thereof, or any mark confusingly similar thereto or likely to dilute or detract
from the Plaintiffs’ Marks; enjoining Defendants from using, transferring or registering any
domain name making unauthorized use of Plaintiffs’ Marks; enjoining Defendants from
accessing the websites used by Defendants to seil Counterfeit Products (collectively, the
“Infringing Websites”); and enjoining Defendants, and others in possession of Defendants’
assets, from transferring, withdrawing or disposing of any money or assets of Defendants;

WHEREAS, Defendants were served with the Preliminary Injunction by email, pursuant
to the alternative service provisions contained in the PI Order;

WHEREAS, the Court entered a Supplemental Order on January 23, 2014, enjoining
additional Defendants and Infringing Websites identified by Plaintiffs through Plaintiffs’
investigation and documents produced by third parties;

WHEREAS, the Court entered a Second Supplemental Order on May 23, 2014, enjoining
the continued operation of 768 additional Infringing Websites identified by Plaintiffs;

WHEREAS the Court entered a Third Supplemental Order on December 3, 2014
enjoining additional Defendants and Infringing Websites identified by Plaintiffs through

Plaintiffs’ investigation and documents produced by third parties;

 

 
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WHEREAS Plaintiffs filed a First Amended Complaint on December 5, 2014 identifying
John Doe defendants Qiao Qin Liu; Adam Vickers; Alfred La Mar; Aretha Johnson; Austin
Gates; Ba Fang; Benjamin Wilson; Bill King; Bingchao Chen; Bonny Loposser; Bunhon Wong;
Cai Cigui,; Cai Fengwei; Cai Gui Lan; Cai Gui Yong; Cai Jincan; Cai Liming; Canganic Kong;
Catina Johnson; Changqing Lin; Changyong Yang; Chaokevin Lebron; Chen Bi Juan; Chen
Bingchao; Chen Guo Jing; Chen Jiasheng ; Chen Jin Feng; Chen Jinxing; Chen Jun Xian; Chen
Kun; Chen Li Xian; Chen Longfei; Chen Min; Chen Minzhong; Chen Qing Guo; Chen Qing
Wen; Chen Shui Lian; Chen Tai Shan; Chen Tong; Chen Wei Zhu; Chen Weizu ; Chen Xicheng;
Chen Yu; Chen Yuanming; Chen Zao Jie Chen Zao Jie; Chen Zhi Jie; Chen Zusong; Chen,
Mingjin; Chen, Suzhen; Chen, Weifang; Chengfei Bei; Chenye Yang; Chen Yuanzhuo; Chris
Hebert; Chunhai Song; Cortez Shore; Creshnaw, Andrew; Dai Jian Zhong; Danilo Yambao;
David Stevens; Deng Dong Fang; Deng Xiao Jun; Diante Johnson; Ding, Yi Na; Dmmeli
Duhaime; Drew Pietan; DSJF Lai; Fan Zhangmu; Fang Ming; Fang Ping; Fang Yong; Fanskel
Lemuel; Fu Jian Shan; Gao Hai Zhu; Gao Hua Ying; Gao Mei Ying; Gao Wei; Green Brown;
Guang Zhou; Guy Yong Cai; Guo ChunPeng; Guo Jiancong; Guofu Zhang; Guohong Zheng;
Haifeng Xu; Haima Xuan; Haitian Ren; Han, Defang; Hang Chen; Hao Lin; Harvey Rhodes;
Holly Gasser; Howard Linsa Hu Guo Tian; Hu Li Ping; Hu Xian Di; Hu Xiu Bi; Hu Xiu Feng;
Huang Guo; Huang Han Liang; Huang He Bin; Huang Huacai; Huang Huayou: Huang Hui;
Huang Jian Ping; Huang Jintian; Huang Jintian; Huang Juying; Huang Libin; Huang Qiao;
Huang Shu Zhen; Huang Wehsheng; Huang Xiao; Huang Xiaogiu; Huang Xiu; Huang Xiuying;
Huang Xiuzhu; Huang Yamei; Huang Yan Ying; Huang Yong Lin; Huang Zhan; Huang Zhi
Zhen; Huangjie Wei; Huik; Imogen Lockhart; Jack Tabor; Jack Wu; Jack Zhang; Jackson

Smith; James Doughlas; Ean Sabud; Jesus Jimenez; Jian Ping Huang; Jian Yin; Jian Zhong Dai;

 

 
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Jiang Hunying; Jiang Junying; Jiang Lin; Jiang Rong Rong; Jiang Xin; Jianhan Xie; Jianxian
Zheng; Jianying Chen; Jianyu Tang; Jie Wang; Jie Wei; Jie Xia; Jim Fricker; Jinfeng Zhang;
Jingmei Zhou; Jinhui Huang; Jinhui Zheng; Jinying Ke; Joe Austin; Joe Tran; John Peir; Join
Lin; Jordan Batters] Julie Lochhead; Kateila Smith; Kathy Peyton; Kayla Moore; Ke Lin Hai
(a/k/a Linhai Ke); Ke Tianrong; Kerry Bolton; Krystian; Kun Chen; Kylon Butler; Lai Li Ying;
Lang Qing; Larry Rhodes; Latin Malin; Lauren Darke; Leo Paquette; Li Hai Dao; Li Haidao; Li
Ning; Li Qi Min; Li Renfen; Li Yangyang; Li Yayun; Li Yu Hong; Li Yu Mei; Li Yuan Mao Yi
You Xian Gong Si; Liming Cai; Lin Bao Zhu; Lin Changqing; Lin Fang; Lin Fengying; Lin Hua
Cong; Lin Ji; Lin Jian; Lin Jun Da; Lin Li-Mei; Lin Mei Ying; Lin Meiqin; Lin Qingfeng; Lin
Xiu Ying; Lin Zhang Qing; Lin, Fengyun; Lisu Motol; Liu Gui Lan; Liu Kai Yang; Liu Meihua;
Liu Qiao Qin; Liu YiFei; Liu Zhen Hu, Liu Zheng Bin; Liu Zhi Jong; LiuYifei LiuYifei; Lizhu
Ma; Louisa Kornbergin; Luo Qiuhua; LV Huiwu; LVZHongtian; Mabelle Weig; Malik Davis;
Mao Guang Yuan; Marshall Matthew; Martin Lessmann; Meilian Huang; Meixia Zheng; Meiyan
Liu; Melvin Saunders; Michael Marcovici; Michael Vick; Ming Fang; Ming Yuan Mao Yi You
Xian Gong Si; Motao; Murray, John; Nan Chen; Natorious Douglas; Nian Hua; Nianhua Tang;
Nicol Duchaine; Nikolaj Chernets; No Buh; Ou Jai Sen; Pan Bing Huang; Pang Nian; Peir
Junck; Phillip Bell; Pin Pai5 1; Ping Fang; Ping Li; Qi Min Li; Qian Shuying; Qian Xiangong;
Qiming Trade Co. Ltd; Qin Yao; Qing Lang; Qing Wen Chen; Qingshi Fang; Qiu Jing; Qunar
Lee; Qunhong Ke; Rebeca Fosburgh; Ren Guo Ying; Ren Guoying; Ren Qing Huang; Ren Zhi
Jie; Ren Zhi Min; Ren Zhi Tong; Ren Zhimin; Rene Paley; Renfen Li; Rick Li d/b/a/163.ca Inc.;
Robbie Clark; Robert Smith; Ronny Seffner; Roy Stotts; Sacaj Boxangel; Sale Jordaner;
Samanta Bangaree; San Zhang; SanChun Wu; SandyC; Sawyer Lin; Sebastian Schwarz;

Shannon Bennett; Shanshan Gao; ShaoTong Qiang; Shen Qingshui; Shengze Yang; Shi Hua; Shi

 
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Shao Lian; Shi Sheng Xu; Shijie Chen; Shinsaku Drock; Shiyu Xu; Shurong Lin; Smith Chen;
Song Yong Gan; Song Yong Jin; Stacy Peacock; Stefano Cecconi; Sun Jin; Sugin Yang; Surong
Zhu; Tamerra Barrett; Tang Guo; Tang Jian Ying; Tang Nianhua; Taniesha Symister; Tianrong
Ke; Tie Ning Zhuo; Tiffany Jarvis; Tim Rhudy; Timothy Saulmon; Tingting Xia; Todd Amira;
Tong Zhenggang; Toni Wu; Tracy Driver; Wagner Chris; Wang Bao Guo; Wang Bing Yuan;
Wang Fulong; Wang Hong; Wang Jie; Wang Ru Jun; Wang Xiang; Wang Xin Fen; Wanlu
Huang; Water Lin; Wei Huangjie; Wei Huangjie; Weijia Yin; Wen Ben Zhou; Weng Qing Yun;
Weng Qing Zhong; Weng Tian Rong; Weng Xue Jing; Weng Yanchun; Willa Wharton; William
Clark; Winchester Dean; Woodson, Keion; Wu Jie Mei; Wu Qingfeng; Wu Song Ye; Wu
XiuYan; Wu Yan; Wu Zigiang; Xia Ling Qin; Xiang Yong Zheng; Xingchang003 Lin; Xaio Lin
Zheng; Xiao Xio Ping; Xiaofei Wang; Xiaoging Zhang; Xiaoqiong Wu; Xiaosi Fu; Xiaoyun
Wang; Xie Han Zhou; Xin Zhang; Xiong Lin; Xiongfei Trade Co. Ltd; Xu Jin Tian; Xu Li Li;
Xu LinYing; Xu Linying; Xu Min Fang; Xu Shi Yi; Xu Weihai; Xu Zhi Qiang; Yan Li Fang;
Yanfen Weng; Yang Haiqi; Yang Hui Xin; Yang Jun Jie; Yang Li; Yang Lin; Yang Rong’e;
Yang Su Qin; Yanging Zhu; Ye Dong; Yegeng Tian; Yida Trade Co., Ltd; Yingchun Yuan;
Yong Lin Huang; Yong Lin Lin; Yong Zheng; Youncofski, Conor; Yu Bin Bin; Yu Hang; Yu
Jie; Yu Xian Wu; Yu Xiao; Yu Zhi Qiang; Yuan Xiaoyan; Yuan Ying Chun; Yuangiu Cai; Yue
Manager; Yujian Ran; Yurong Huang; Yuyang LV; Zelda Spingarn; Zenyu Lin, Zeynab
Bstalvey; Zhan Cui Bin; Zhan Cuibin; Zhan Ruping; Zhang Feng Chun; Zhang Feng Lan; Zhang
Feng Yu; Zhang Fengchun; Zhang Guofu; Zhang Jia Fu; Zhang Jiu Chu; Zhang San; Zhang
Sansan; Zhang Shan; Zhang Wei; Zhang Wei Ping; Zhao Jun Pu; Zhao Min Gui; Zhao Zeying;
Zheng Jian Fen; Zheng Jin Hui; Zheng Jin Tao; Zheng Jin Zhao; Zheng Jinhui; Zheng Lan Ying;

Zheng Limei; Zheng Shi Jie; Zheng Wen Zong; Zheng Xiang Yong; Zheng Yang Mei; Zheng

 

 
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Yuefen; Zheng Zhi Hong; Zheng, Lanying; Zhengyu Lin; Zheyu Lin; Zhi Jieren; Zhixiong
Huang; Zhiyuan Dai; Zhong Zhenning; Zhou Dadi; Zhou Kai; Zhu Fu; Zhuo Tie Ning; Zhuo
Zhen; Zita Binder; Zusong Chen (collectively, together with the original defendants, the
“Defendants”), associated with the original defendants in the twenty-six groups identified by
Plaintiffs;

WHEREAS, Defendants were served with the Summons and First Amended Complaint
on February 3, 2015 by email in accord with the orders authorizing alternative service signed by
the Court on December 3, 2014, May 23, 2014, January 31, 2014, December 3, 2013, and
November 27, 2013;

WHEREAS, Plaintiffs’ complaint and papers submitted in support of Plaintiffs’
applications for a temporary restraining order, preliminary injunction, and supplemental orders
made clear that Plaintiffs would seek the relief provided herein, including an accounting or
monetary damages of $2 million per infringement of registered trademark per category of goods
offered, in excess of $1.8 billion total;

WHEREAS, the terms of the asset restraint provisions of the TRO, PI Order, and
Supplemental Orders were made applicable to PayPal, Inc. and certain banks, savings and loan
associations, credit card companies, credit card processing agencies, or other financial
institutions or agencies that engage in the transfer of real or personal property, and all persons
acting in concert or in participation with any of the Defendants who are in possession of
Defendants’ Assets (collectively, “Defendants’ Assets Holders”);

WHEREAS, Defendants have not answered the Complaint or the First Amended
Complaint and the deadline for answering has expired;

WHEREAS the Clerk’s Certificate of Default was entered on March 18, 2015;

 

 
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WHEREAS, Defendants have not opposed Plaintiffs’ motion for a default judgment;

NOW, THEREFORE, iT IS HEREBY ORDERED, ADJUDGED and DECREED:

1. Exhibits 1, 2, and 3 referenced herein indicate Exhibits 1, 2, and 3 to the Notice of
Motion for a Default Judgment (Docket Nos. 37-2, 37-3, and 37-4) and shall be treated as
incorporated exhibits to this Default Judgment.

2. That Defendants and Defendants’ officers, directors, agents, representatives,
successors or assigns, and all persons acting in concert or in participation with any of them are
permanently enjoined from:

(a) using Plaintiffs’ Marks, or any reproduction, counterfeit, copy, or colorable
imitation of Plaintiffs’ Marks, or any mark confusingly similar thereto or likely to dilute or
detract from the Plaintiffs’ Marks, in connection with manufacturing, distributing, delivering,
shipping, importing, exporting, advertising, marketing, promoting, selling or offering for sale
Counterfeit Products or any other products confusingly similar to Plaintiffs’ Products, or that
otherwise bear, contain, display, or utilize any of the Plaintiffs’ Marks;

(b) making or employing any other commercial use of the Plaintiffs’ Marks, any
derivation or colorable imitation thereof, or any mark confusingly similar thereto or likely to
dilute or detract from the Plaintiffs’ Marks;

(c) using any other false designation of origin or false description or representation or
any other thing calculated or likely to cause confusion or mistake in the mind of the trade or
public or to deceive the trade or public into believing that Defendants’ products or activities are
in any way sponsored, licensed or authorized by or affiliated or connected with Plaintiffs;

(d) using or transferring ownership of the Infringing Websites or Infringing Domain

Names, or registering or using any other domain names incorporating, in whole or in part, any

 
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word or mark identical or similar to the name NIKE or Converse or otherwise making use of the
Plaintiffs’ Marks:

(e) doing any other acts or things calculated or likely to cause confusion or mistake in
the mind of the public or to lead purchasers or consumers or investors to believe that the
products or services promoted, offered, or sponsored by Defendants come from Plaintiffs or their
licensees, or are somehow licensed, sponsored, endorsed, or authorized by, or otherwise
affiliated or connected with Plaintiffs;

(p moving, returning, destroying, secreting, or otherwise disposing of any
Counterfeit Products or any products that otherwise bear, contain, display, or utilize any of the
Piaintiffs’ Marks, any derivation or colorable imitation thereof, or any mark confusingly similar
thereto or likely to dilute or detract from the Plaintiffs’ Marks;

{g) removing, destroying, altering, secreting, or otherwise disposing of any computer
files, electronic files or data, business records, or documents containing any information relating
to any of the Infringing Websites, Defendants’ assets or operations, or to the importing,
manufacturing, production, marketing, advertising, promoting, acquisition, purchase, distribution
or sale of Counterfeit Products or any products that otherwise bear contain, display, or utilize any
of the Plaintiffs’ Marks, any derivation or colorable imitation thereof, or any mark confusingly
similar thereto or likely to dilute or detract from the Plaintiffs’ Marks;

(h) further diluting and infringing the Plaintiffs’ Marks and damaging Plaintiffs’
goodwill;

(i) otherwise competing unfairly with Plaintiffs or any of their authorized licensees

in any manner;

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Q) assisting, aiding, or abetting any other person or business entity in engaging in or
performing any of the activities referred to in the above subparagraphs (a) through (i), or
effecting any assignments or transfers, forming new entities or associations, or utilizing any
other device for the purpose of circumventing or otherwise avoiding the prohibitions set forth in
subparagraphs (a) through (i); and

3. That Defendants shall! recall and remove from all stores, shops, markets, outlets,
catalogues, websites or other channels of commerce any Counterfeit Products or any other
products confusingly similar to Plaintiffs’ Products, or that otherwise bear, contain, display or
utilize any of Plaintiffs’ Marks, any derivation or colorable imitation thereof, or any mark
confusingly similar thereto or likely to dilute or detract from the Plaintiffs’ Marks, that are in
Defendants’ possession or contro] and all means of making the same;

4, That Defendants shall deliver up for destruction all Counterfeit Products or any
other products confusingly similar to Plaintiffs’ Products, or that otherwise bear, contain, display
or utilize any of Plaintiffs’ Marks, any derivation or colorable imitation thereof, or any mark
confusingly similar thereto or likely to dilute or detract from the Plaintiffs’ Marks, that are in
Defendants’ possession or control and all means of making the same, in accordance with 15
U.S.C. § 1118;

5, That Defendants shall deliver up for destruction any and all guarantees, circulars,
price lists, labels, signs, prints, packages, wrappers, pouches, receptacles, advertising matter,
promotional, and other materials in the possession or control of Defendants bearing any of
Plaintiffs’ Marks, any derivation or colorable imitation thereof, or any mark confusingly similar
thereto or likely to dilute or detract from the Plaintiffs’ Marks, in accordance with 15 U.S.C.

§ 1118;

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6. That Defendants shall supply Plaintiffs with a complete list of entities from whom
they purchased and to whom they distributed and/or sold Counterfeit Products or any other
products confusingly similar to Plaintiffs’ Products, or that otherwise bear, contain, display or
utilize any of Plaintiffs’ Marks, any derivation or colorable imitation thereof, or any mark
confusingly similar thereto or likely to dilute or detract from the Plaintiffs’ Marks.

7. That after ten (10) business days following service of this Default Judgment, the
registries and/or the individual registrars shall transfer the domain names set forth in Exhibit | to
the ownership and control of Plaintiffs, through the registrar of Plaintiffs’ choosing, or at
Plaintiffs’ direction release such domain names;

8. That Plaintiffs’ request for an accounting of profits is granted. In light of the
Defendants’ complete failure to produce any documents in this action, making a precise
calculation impossible on Plaintiffs’ claim for an accounting, the Court awards equitable relief
against Defendants as set forth in Exhibit 2 (representing $1 million per mark per type of good
infringed pursuant to 15 U.S.C. § 1117(c)) as a proxy for Defendants’ profits, plus $100,000 for
each Infringing Domain Name registered by Defendants pursuant to 15 U.S.C. § 1117(d));

9. That the individual Defendants comprising each Defendant Group shall be jointly
and severally liable to Plaintiffs for the amounts specified for the respective groups with which
each is associated as specified in Exhibit 2, and shall pay those amounts forthwith;

10. That, in accordance with Rule 65 of the Federal Rules of Civil Procedure, 15
U.S.C. § 1116(a), Article 52 of New York State’s Civil Practice Law and Rules, and this Court’s
inherent equitable power to issue remedies ancillary to its authority to provide final relief, all
Defendants’ Assets that have been previously identified as frozen or that were otherwise required

to be restrained in compliance with this Court’s Orders, continue to be restrained regardless of

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whether the Defendants’ Assets are located in the United States or abroad, except that the
Defendants may wire the funds on deposit to Gibson Dunn’s client trust account. This includes,
but is not limited to the accounts set forth in Exhibit 3;

11. That in accordance with Rule 65 of the Federal Rules of Civil Procedure, 15
U.S.C. § 1116(a), Article 52 of New York State’s Civil Practice Law and Rules and this Court’s
inherent equitable power to issue remedies ancillary to its authority to provide final relief, any
other of Defendants’ Assets that Plaintiffs identify in the future and/or that have not yet been
frozen shall be subject to the asset restraint provisions set forth herein, regardless of whether the
Defendants’ Assets are located in the United States or abroad;

12. That Defendants shall file with the Court and serve on counsel for Plaintiffs
within thirty (30) days after entry of this Default Judgment a sworn written statement pursuant to
15 U.S.C. § 1116(a) setting forth in detail the manner and form in which Defendants have
complied with the terms of this Default Judgment; and

13. That the Clerk of the Court shall close this case and remove it from my docket,
without prejudice to Plaintiffs’ ability, if necessary, to file a motion to seek appropriate relief
from this Court in order to: (a) enforce this Default Judgment or any outstanding obligations to
comply with the discovery provisions of this Court’s prior Orders; (b) find any of Defendants’
Asset Holders in contempt of this Court’s Orders or this Default Judgment; or (c) reopen this
matter in the event it is necessary to pursue sanctions for any violations of this Default Judgment.

SO ORDERED.

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Dated: 4 L 2015

New York, New York ro
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SHIRA A. SCHEINDLIN
UNITED STATES DISTRICT JUDGE

  

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EXHIBIT 1
 

Domain Name

-vans2010-tw.com
78.com

-visvim-taipel. .com

-vans88-tw.com

.camper-taiwan.com

.cheapfrees-tn-au.com

‘wholesalenikeshoes info

.caps-sell.com

cnewnkefreerun.

-Shoesnikeairmax90.info

ACVOED Mmomens a 21-L-FiKGURIGROWAAE Rages Get 97

INFRINGING WEBSITES

DEFENDANTS - GROUP A
Email Address(es)

AGENT
DOMAIN WHOIS PROTECTION SERVICE

Imkecom@yahoo.cn
com.tw
1
com
12233@hotmail.com
12233@yahoo.com.tw

2013@163.com
com
12233@hotmail.com

com

12233@hotmail.com

12233@hotmail.com

com
com

12233@hotmail.com

tian shi chun mao
wu

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lian webnet you xian gong si 1309624870@qq.com

Private

Affected Plaintiff
(Nike and/or

 
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.freerunstoreonline.com
-airshoes4u.com
trainer90forsale.co.uk
tuntteeuksale.co.uk

-blazers4u.co.uk

-blazersdeonlines.co.uk
co
-blazersuedeonlines.co.uk

Domain Name

-honestysale2.com
.wholesalenfljerseyssale.com
snikenfldepot.com

-soaol.com

.ostyler.com
.cheapdiscountnfljerseyshere.com
.cheapjerseyshonesty.com

com
l.com

com

com

Domain Name

.airforceonesdiscount.com

.discount360c.com
ossiste.com
jordanairnike2013.com

com
cnikeairjordansweb.com

998.com

Sean Roy
eloise

Clark
Yi

Harrison
La Mar

Linda Rives
Mike Thornton com

Fuhrer 8@yahoo.com
Jenny McDougald

Martin Lessman
CORBETT

Scott
‘amerra Barrett
Kateila Smith

DEFENDANTS - GROUP B

5175638@qq.com
Lin Yameng
lin 5175638@qq.com

5175638@qq.com
12@gmail.com

5175638@qq.com

com
HuangXiu Ying

Cai LiMing

DEFENDANTS - GROUP C

139.com
2005@126.com
eijia yin

wel 139.com
hong 163.com

wel 139.com

139.com
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139.com
126.com
EBL*BRAKEHEMALT K.K.-TRAD

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wel 139.com
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Email Address(es)

Email Address(es)

Affected Plaintiff
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snike-air-max-destock.com Zhenlong 126.com

cnikeairmaxinstock.com 139.com
139.com
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